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 9                                   UNITED STATES BANKRUPTCY COURT

10                                             DISTRICT OF NEVADA

11   In re:                                                 Case No. 18-10453-LEB
                                                            Chapter 11
12   U.S.A. DAWGS, INC.,
                                                            SUPPLEMENTAL DECLARATION OF
13                      Debtor.                             RICHARD ELLIS IN SUPPORT OF
                                                            SECURED CREDITOR GEMCAP
14                                                          LENDING I, LLC’S REPLY BRIEF IN
                                                            SUPPORT OF ITS MOTION TO DISMISS
15                                                          OR APPOINT A TRUSTEE FOR BAD
                                                            FAITH OR, IN THE ALTERNATIVE,
16                                                          MOTION FOR RELIEF FROM THE
                                                            AUTOMATIC STAY OR FOR
17                                                          ABSTENTION

18                                                          Date of Evidentiary Hearing: May 10, 2018
                                                            Time of Evidentiary Hearing: 9:30 a.m.
19

20            I, Richard Ellis, declare that:
21            1.        I am over the age of 18 and mentally competent. Except where stated on
22   information and belief, I have personal knowledge of the facts in this matter, and if called upon
23   to testify, could and would do so. I am the co-President of secured creditor GemCap Lending I,
24   LLC (“GemCap”).
25            2.        I make this Supplemental Declaration in Support of GemCap’s Reply Brief in
26   support of its Motion to Dismiss or Appoint a Trustee for Bad Faith or, in the Alternative,
27   Motion for Relief from the Automatic Stay or Abstention.
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 1            3.        I have personally reviewed U.S.A. Dawgs, Inc.’s (the “Debtor”) reports filed in

 2   this action, including its Monthly Operating Reports and Cash Collateral Reports (ECF Nos. 180,

 3   234, 235, 250).          From there, I assisted with the preparation of the following graph that

 4   summarizes the evidence of the Debtor’s inventory purchases as measured against gross

 5   inventory, inventory depletion, and protection payments over the bankruptcy period (February –

 6   April 2018).

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17            As the above graph shows, from February 2018 to April 2018, Debtor’s inventory

18   depleted by over $400,000. During that period, Debtor purportedly replenished that inventory by

19   only $50,000 and had adequate protection payments made of only $100,000. In other words,

20   since the Petition Date of January 31, 2018, GemCap’s cash collateral has demonstrably been

21   depleted by an amount of $400,000, while GemCap was only able to “recoup” $100,000 in

22   payments and $50,000 “on paper” in purported inventory, resulting in a net loss of collateral at

23   least $250,000.

24            4.        Next, we at GemCap became determined to gather historical information in order

25   to evaluate the trend line of Debtor’s inventory depletion as measured against the other criteria

26   listed above. Using Debtor’s own information provided in Borrowing Base Certificates that

27   were furnished to GemCap as well as with the Court and in the bankruptcy case record, I assisted

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 1   in the preparation of the following graph showing the monthly averages (versus monthly totals in

 2   the prior graph), of the same measure of information.

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12            As can be seen by the illustration above, Debtor’s gross inventory has long been

13   declining and so have its inventory purchases.          That decline (or corresponding depletion

14   number), as measured against the inventory purchase number, has only been accelerating.

15   During the pendency of the bankruptcy case alone, Debtor’s depletion in inventory has far

16   surpassed its replenishment, thus causing significant injury to GemCap.

17            I declare under penalty of perjury under the law of the State of Nevada and the laws of

18   the United States that the foregoing is true and correct and that this declaration was executed on

19   the 3rd day of May, 2018 at Dallas, Texas.

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                                                       Richard Ellis
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